     Case 6:19-cv-00036-NKM Document 2 Filed 05/29/19 Page 1 of 6 Pageid#: 3




                             IN THE UNITED STATES DISTRICT COURT                 cûEnrsoFFlcEns rlsm couv
                                                                                       v uyxcHaLiavA .
                            FO R THE W ESTERN DISTRICT OFVIRGINIA                            FU O
                                                     DIVISION                          MAY 2 S 2019
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                                                                                          - C.UDLEKOLERK
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         Plaintiffts),
V.                                                                 CivilActionNo.:& .
                                                                                    '19 c./&
                                                                   (TobeassignedbyClerkofDistrictCourt)
 com .           l./.
                    à           ?'c ;,.-
                                    .            ;



         Defendantts).
(Enterthefullnamets)ofALLpartiesinthisIawsuit.
Pleaseattachadditionalsheetsifnecessary).

                                           COM PLAINT

PARTIES

        List aIIPlaintiffs. State the fullnam e of the Plaintiff,address and telephone num ber.
        Do the sam e forany additionalPlaintiffs.

        a. PlaintiffNo.1

             Name:           -1
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                                                         o
             Address:          1/                            vs-   & scLsur       .k        '
                                                                                            ,çcz
             TelephoneNumber:                    Q1Jt.
                                                     / k15*          Jzz,
        b. PlaintiffNo.2

             N am e:

             Address:

             Telephone Num ber:
   Case 6:19-cv-00036-NKM Document 2 Filed 05/29/19 Page 2 of 6 Pageid#: 4




       List aIIDefendants. State the fullname ofthe Defendant,even ifthatDefendant is a
       government agency, an organization, a corporation, or an individual. lnclpde the
       addresswhere each Defendantmaybeserved. Makesurethatthe Defendantts)listed
       below are identicalto those contained in the above caption ofthe com plaint.

       a. DefendantNo.1

           Name:            fokn.o- wz l!é ,.
                                            r V'r ,'.'
           Address:

       b. Defendant No.2

           Nam e:

          Address:

NOTE: IF THERE ARE ADDITIO NAL PLAINTIFFS OR DEFENDANTS, PLEASE PROVIDE THEIR
NAM ES AND ADDRESSES ON A SEPARATE SHEET O F PAPER.
Checkhereifadditionalsheetsofpaperareattached: Z
Please Iabel the attached sheets of paper to correspond to the appropriate num bered
paragraphabove(e.g.AdditionalDefendants2.c.,2.d.,etc.).
JURISDICTION

Federalcourtsare courtsofIimitedjurisdiction.Generally,twotypesofcasescan beheard in
federalcourt: cases involving a federalquestion and cases involving diversity of citizenship of
the parties.'Under28 U.S.C.j 1331,a case involving the United States Constitution orfederal
Iawsortreatiesisafederalquestion case. Under28 U.S.C.5 1332,a case in w hich a citizen of
onestatesuesacitizen ofanotherstateandtheamountofdamagesismorethan$75,000 isa
diversity ofcitizenship case, Federalcourtsalso have jurisdlction overcases where the United
States isa Defendant.

       W hatisthe basisforfederalcourtjurisdiction?

    ederalQuestion          I--lDiversityofcitizenship              GovernmentDefendant
   4. Ifthe basisforjurisdiction is FederalQuestion,which FederalConstitution,statutory or
       treaty rightisatissue? ListaIIthatapply.

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        JJJ &o4 :î.4loh.
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       5. Ifthe basisforjurisdiction isDiversityofditizenship,whatisthe state ofcitizenship of
           each party?      Each Plaintiff must be diverse from each Defendant for diversity
          jurisdiction.
           PlaintiffNo.1:7-
                          /mc.!hv J'nI;s -                stateofcitizenship: 2 '
                                                                                -r 'ti--.
           PlaintiffNo.2:                                 State ofCitizenship:

          DefendantNo.1:                                  StateofCitizenship:

          Defendant No.2:                                 State ofCitizenship:

          Attach additionalsheetsof paperas necessary and Iabelthis inform ation asparagraph
          5.Checkhereifadditionalsheetsofpaperareattathed.I--I
    STATEM ENT O FTHE CLAIM

    Describe in the space provided below the basic facts ofyourclaim . The description offacts
    should include a specific explanation ofhow,w here,and w hen each ofthe defendants nam ed
    inthe captionviolatedthe Iaw,and how you were harmed. Do notgive any Iegalargumentsor
    cite casesorstatutes. Each paragraph m ustbe num bered separately,beginning w ith num ber6.
    Pleasew rite each single setofcircum stancesin aseparately numbered paragraph.

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  Case 6:19-cv-00036-NKM Document 2 Filed 05/29/19 Page 5 of 6 Pageid#: 7




Attach additional sheets of paper as necessary and label them as Additional Facts and
continue to pum ber the paragraphs consecutively. Check here ifadditionalsheets of paper
areattached.I
            --I
REQUEST FOR RELIEF

State whatyou wantthe Courtto do foryou and the amountofmonetary com pensation,ifany,
you are seeking.

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DEM AND FOR JURYTRIAL:             O Es                  L NO
signedthis 2 9 day of M :         ' * l9 .


                            Signature of PlaintiffNo.1



                            SignatureofPlaintiffNo.2

NOTE: AlIPlaintiffs nam ed in the caption ofthe com plaint m ust date and sign the com plaint.
Attachadditionalsheetsofpaperasnecessary.
